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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

  ANTHONY TELLIS, ET AL                                CIVIL ACTION NO. 18-cv-541

  VERSUS                                               JUDGE ELIZABETH E. FOOTE

  JAMES M LEBLANC, ET AL                               MAGISTRATE JUDGE HORNSBY


                                  MEMORANDUM ORDER

          Before the court are Defendants’ Motion to Expedite and Motion for Protective

   Order (Doc. 593) and Plaintiffs’ Cross Motion for Protocol for Expert Site Visit, Motion

   to Expedite, and Motion for Status Conference. Doc. 594. The motions concern Plaintiffs’

   expert witness site visit scheduled to occur at DWCC beginning Monday, June 27, 2022 at

   8:00 a.m. The court has read all of the briefs.

          The issue is whether Plaintiffs’ experts will have access to medical records in real

   time during the site visit. Defendants argue that allowing Plaintiffs’ experts to review new

   records during their site visit would circumvent this court’s limitation on discovery in the

   court’s June 21, 2022 Memorandum Order limiting the newly identified medical records

   Defendants must produce in discovery. Plaintiffs argue that Defendants are conflating two

   separate issues: a site visit and an order limiting new discovery production. Plaintiffs also

   argue that there was no reason for them to anticipate that this expert site visit would not be

   conducted using the same procedure that was used during the prior two site visits.

          Both parties’ motions to expedite are granted. Defendants’ motion for protective

   order is denied. Plaintiffs’ motion for a status conference is denied. Plaintiffs’ motion for
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   protocol for Plaintiffs’ expert witness site visit is granted. The parties are ordered to use

   the same procedures during this site visit that were used in the Plaintiffs’ experts’ prior site

   visits. Plaintiffs’ counsel will provide a list of prisoners whom the experts want to

   interview, then Defendants will bring the up-to-date medical and mental health records for

   those individuals to the visitation room. This procedure does not violate the letter or spirit

   of the court’s prior Memorandum Order. It is so ordered.

           THUS DONE AND SIGNED in Shreveport, Louisiana, this 24th day of June,

   2022.




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